Case No. 1:10-cv-02088-ZLW Document 1 filed 08/30/10 USDC Colorado pgi1of7

FILED

UNITED STATES DISTRICT COURT
DENVER, COLORADO

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO AUG 3 0 2010

Civil Action No. 10 - CV - 0 2 0 8 § Brn Nf GREGORY C. ANTE

re

(The above civil action number must appear on all future papers
sent to the court in this action. Failure to include this number
may result in a delay in the consideration of your claims.)

JONATHAN LEE RICHES, d/b/a
BERNARD L. MADOFF, a/k/a
FAISAL SHAHZAD,

Plaintiff,
Vv.

NICK SABAN, d/b/a UNIVERSITY OF ALABAMA FOOTBALL COACH, et al.,

Defendants.

ORDER DIRECTING CLERK TO COMMENCE CIVIL ACTION AND
DIRECTING PLAINTIFF TO CURE DEFICIENCY AND TO SHOW CAUSE

Plaintiff, Jonathan Lee Riches, attempted to initiate this action by submitting pro
sea document. This is one of twenty-five cases Mr. Riches attempted to initiate on
August 20 and 23, 2010. He has failed either to pay the $350.00 filing fee or to file a
Prisoner's Motion and Affidavit for Leave to Proceed Pursuant to 28 U.S.C. § 1915. As
part of the court’s review pursuant to D.C.COLO.LCivR 8.2, the Court has determined
that the submitted document is deficient as described in this order. Notwithstanding the
deficiencies, the clerk of the court will be directed to commence a civil action. Plaintiff
will be directed to cure the following if he wishes to pursue his claims. Any papers that

Plaintiff files in response to this order must include the civil action number on this order.
Case No. 1:10-cv-02088-ZLW Document 1 filed 08/30/10 USDC Colorado pg 2of7

28 U.S.C. § 1915 Motion and Affidavit:
(1) Xx is not submitted

(2) __ is missing affidavit

(3) X _ is missing certified copy of prisoner's trust fund statement for the 6-month
period immediately preceding this filing

(4) __ is missing certificate showing current balance in prison account

(5) | is missing required financial information

(6) _____ is missing an original signature by the prisoner

(7) __ is not on proper form (must use the court’s current form)

(8) __ names in caption do not match names in caption of complaint, petition or
habeas application

(9) __ An original and a copy have not been received by the court.

Only an original has been received.

(10) X other: Motion is necessary only if $350.00 filing fee is not paid in

advance.

Complaint, Petition or Application:
(11) X is not submitted

(12) __ is not on proper form (must use the court’s current form)

(13) __ is missing an original signature by the prisoner

(14) _ ~ ismissing page nos. __

(15) _  —_uses et al. instead of listing all parties in caption

(16) __ Anoriginal and a copy have not been received by the court. Only an
original has been received.

(17) _  — Sufficient copies to serve each defendant/respondent have not been
received by the court.

(18) __ names in caption do not match names in text

(19) __ other

The Court must construe Mr. Riches’s filings liberally because he is not
represented by an attorney. See Haines v. Kerner, 404 U.S. 519, 520-21 (1972); Hall
v. Bellmon, 935 F.2d 1106, 1110 (10th Cir. 1991). However, the Court should not be
an advocate for a pro se litigant. See Hall, 935 F.2d at 1110. For the reasons stated
below, Mr. Riches also will be ordered to show cause why filing restrictions should not
be imposed against him for his repetitive and abusive filings.

The instant action is yet another example of the attempts by Mr. Riches, using

absurd aliases, to initiate cases in this Court that make bizarre or absurd allegations,
Case No. 1:10-cv-02088-ZLW Document 1 filed 08/30/10 USDC Colorado pg 3of7

often naming as defendants newsmakers and celebrities, both fictional and nonfictional.
"[T]he court is permitted to take judicial notice of its own files and records, as well as
facts which are a matter of public record." Van Woudenberg ex rel. Foor v. Gibson,
211 F.3d 560, 568 (10th Cir.2000), abrogated on other grounds by McGregor v.
Gibson, 248 F.3d 946, 955 (10th Cir. 2001).
Mr. Riches has been warned that the Court has the power to enjoin litigants who
abuse the judicial system. See Tripati v. Beaman, 878 F.2d 351 (10th Cir. 1989) (per
curiam). “[T]he right of access to the courts is neither absolute nor unconditional, and
there is no constitutional right of access to the courts to prosecute an action that is
frivolous or malicious.” /d. at 353 (citation omitted). “Federal courts have the inherent
power to regulate the activities of abusive litigants by imposing carefully tailored
restrictions in appropriate circumstances.” Andrews v. Heaton, 483 U.S. 1070, 1077
(10th Cir. 2007).
Specifically, injunctions restricting further filings are
appropriate where the litigant’s lengthy and abusive history
is set forth; the court provides guidelines as to what the
litigant may do to obtain its permission to file an action; and
the litigant receives notice and an opportunity to oppose the
court’s order before it is implemented.

Id.

Sanctions may be imposed under Fed. R. Civ. P. 11(c), even against a pro se
plaintiff, if a pleading or other paper lacks “claims, defenses, and other legal
contentions . . . warranted by existing law” and the “factual contentions” lack

“evidentiary support.” See Fed. R. Civ. P. 11(b) (imposing same standard on both

attorneys and “unrepresented part[ies]).” In order to comply with Rule 11 and avoid
Case No. 1:10-cv-02088-ZLW Document 1 filed 08/30/10 USDC Colorado pg 4of7

sanctions thereunder, a pro se party’s actions must be objectively reasonable. White
v. Gen. Motors Corp., 908 F.2d 675, 683 (10th Cir. 1990). A pattern of groundless
and vexatious litigation will support an order enjoining a litigant from filing any claims
without first seeking prior leave of court. See Ketchum v. Cruz, 961 F.2d 916, 921
(10th Cir. 1992); Winslow v. Romer, 759 F. Supp. 670, 677-78 (D. Colo. 1991);
Colorado ex rel. Colo. Judicial Dep't v. Fleming, 726 F. Supp. 1216, 1221 (D. Colo.
1989). A plaintiff has the right to notice and to oppose, in writing, the imposition of
future restrictions. See Tripati, 878 F.2d at 354. Therefore, Mr. Riches will be ordered
to show cause why filing restrictions should not be imposed against him for his
repetitive and abusive filings.

If the Court finds that Mr. Riches’s abusive history of filing actions demonstrates
that imposition of filing restrictions is appropriate, the Court will prohibit Mr. Riches from
filing new actions in the United States District Court for the District of Colorado without
the representation of a licensed attorney admitted to practice in the United States
District Court for the District of Colorado unless he obtains permission to proceed pro
se. In order to obtain permission to proceed pro se, Mr. Riches will be directed to take
the following steps:

1. File with the clerk of this Court a motion requesting leave to file a
pro se action.

2. Include in the motion requesting leave to file a pro se action the
following information:

A. A list of all lawsuits currently pending or filed
previously in the District of Colorado, including the
name, number, and citation, if applicable, of each
case, and the current status or disposition of each

4
Case No. 1:10-cv-02088-ZLW Document 1 filed 08/30/10 USDC Colorado pg5of7

case; and

B. A statement of the legal issues to be raised in the
proposed new pleading and whether he has raised
the same issues in other proceedings in the District of
Colorado. If so, he must cite the case number and
docket number where the legal issues previously
have been raised.

3. Submit the proposed new pleading to be filed in the pro se action.

The motion requesting leave to file a pro se action and the proposed new
pleading shall be submitted to the clerk of the Court, who shall forward them to the
judicial officer designated by the Chief Judge pursuant to D.C.COLO.CivR 8.1C. for
review. If the motion requesting leave to file a pro se action is denied, the matter will
be dismissed. If the motion requesting leave to file a pro se action is granted, the case
will proceed in accordance with the Federal Rules of Civil Procedure and the Local
Rules of Practice of the United States District Court for the District of Colorado-Civil.

Finally, as noted above, Mr. Riches must be given an opportunity to oppose
imposition of these filing restrictions before they may be implemented. Therefore, Mr.
Riches will be directed to show cause why the filing restrictions discussed in this order
should not be imposed. If Mr. Riches fails to show good cause within the time allowed,
the filing restrictions will be imposed whether or not he cures the designated
deficiencies.

Accordingly, it is

ORDERED that the clerk of the court commence a civil action in this matter. It is

FURTHER ORDERED that Plaintiff, Jonathan Lee Riches, cure the deficiencies

designated above within thirty (30) days from the date of this order. Any papers
Case No. 1:10-cv-02088-ZLW Document 1 filed 08/30/10 USDC Colorado pg 6of7

that Plaintiff files in response to this order must include the civil action number on this
order. Itis

FURTHER ORDERED that the clerk of the Court mail to Plaintiff, together with a
copy of this order, two copies of the following forms to be used in curing the designated
deficiencies: Prisoner’s Motion and Affidavit for Leave to Proceed Pursuant to 28
U.S.C. § 1915 and Prisoner Complaint. It is

FURTHER ORDERED that, if Plaintiff fails to cure the designated deficiencies
within thirty (30) days from the date of this order, the action will be dismissed
without further notice. It is

FURTHER ORDERED that Plaintiff show cause within thirty (30) days from the
date of this order why filing restrictions should not be imposed against him for his
repetitive and abusive filings. It is

FURTHER ORDERED that, if Plaintiff fails to show cause within the time
allowed, the filing restrictions will be imposed whether or not he cures the designated
deficiencies.

DATED at Denver, Colorado, this 26 say of Megat , 2010.

BY THE COURT:

[een tenor...

BOYD NYBOLAND
United States Magistrate Judge

Case No. 1:10-cv-02088-ZLW Document 1 filed 08/30/10 USDC Colorado pg 7 of7

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO

CERTIFICATE OF MAILING

Civil Action No. ‘10 — CV ~ 0 2 Q ® 8

Jonathan Lee Riches
a/k/a Bernard Madoff
Reg No. 40948-018
Federal Medical Center
P.O. Box 14500
Lexington, KY 40512

| hereby certify that | have mailed a copy of the ORDER and two copies of the
Prisoner’s Motion and Affidavit for Leave to Proceed Pursuant to a eG §1915
and Prisoner Complaint forms to the above-named individuals on /. x [o

GREGORY C. LANGHAM, CLERK

Byf

) Pere Clerk
